
45 So.3d 1061 (2010)
Zenovia TURNER
v.
STATE of Louisiana, City of Monroe.
No. 2010-KD-1739.
Supreme Court of Louisiana.
September 22, 2010.
Motion to Enforce granted. The previous order issued by this Court, Zenovia Turner v. State of Louisiana, City of Monroe, 10-KD-1739 (La.8/16/10), 42 So.3d 382, was intended to have the Monroe City Court consider the applicant's pleadings as a notice of intent to apply to the Court of
Appeal for a writ of review. With this clarification, the Monroe City Court is ordered to comply with this Court's earlier order, to consider the applicant's pleadings as a notice of and/or application for writ of review or motion for appeal within thirty days, if it has not already done so.
